 Case 1:05-cr-01849-JCH           Document 1391-2         Filed 08/27/08   Page 1 of 1




                                   Attachment B
The following exhibits comprise pages which have not been provided in the course of
discovery in United States v. Dana Jarvis, et al., Cr. No. 05-1849 JH. Alternatively the
government has not provided the authority under which one or more of the below exhibit
pages have been withheld from disclosure to the Defendants:

                                    EXHIBIT FOOTER                           MISSING
 2‐D.Jarvis‐9421                                                                1‐12
 9‐Wasington mutual/5 Lauro/B. Hanna                                              1
 10‐6751 Vah Ki Inn                                                             1‐3
 11‐1119 Vahki inn                                                              1‐5
 13‐ Popular Mtb/13Enebro                                                         1
 17‐Option/9227Weaver/Reid                                                      1‐4
 19‐Ntl City Mtg/138Berger/Hanna                                                1‐5
 28‐1st American/Cielo visits                                                   1‐2
 29‐Community/Fitzner/Jarvis‐1353/1007/3747                                     1‐4
 35‐B of A/Hanna/0640                                                           1‐3
 37‐B of A/arvis/2265                                                           1‐7
 38‐B of A/Jarvis/2936                                                        65‐200
 40‐Accredited/9227 Weaver/Reid                                                 1‐7
 41‐Citibank/B. Hanna/7497                                                        1
 43‐1ST State/Jarvis/4527                                                       2‐99
 45‐1st State/Jarvis/Liquor lic                                                   1
 46‐Washington mutual/142Half/B. hanna                                         1‐3, 6
 48‐Countrywide/612 Gomez#1/B. Hanna                                            1‐3
 49‐Compas/M. Hannah/87080587                                                   1‐4
 55‐B of A/Jarvis/8357                                                            1
 58‐Wells fargo/B. Hanna/6673                                                   1‐10
 59‐B of A/CC/Reid/0474                                                      1‐4, 54‐99
 63‐county records/Club rhythm/                                                 1‐6
 65‐Merrick bank/Jarvis/0077                                                    1‐2
 67B of A/cc/Jarvis/8361                                                        1‐3
 68‐Equicredit/1440 Cielo vista/Jarvis                                          1‐3
 69‐US bank/Jarvis/trust acct                                                     1
 78‐Sunstate/Reid/1021/1012                                                     1‐4
 80‐Wells Fargo/B. Hanna/2157896                                                1‐2
 83‐Lane Aviaton‐Ohio/N3AJ/Reid & Jarvis                                          1
 84‐JP Morgan bank one/M. Hannah/4836, 1745, 1604, 9795                           1
 85‐Mossman CPA/Jarvis tax returns/                                            1‐532
 87‐Wash mutual/Reid/9566                                                         1
